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 1   GIBSON, DUNN & CRUTCHER LLP
     JOEL S. SANDERS, SBN 107234
 2   JSanders@gibsondunn.com
     RACHEL S. BRASS, SBN 219301
 3   RBrass@gibsondunn.com
     AUSTIN SCHWING, SBN 211696
 4   ASchwing@gibsondunn.com
     555 Mission Street, Suite 3000
 5   San Francisco, California 94105-2933
     Telephone: 415.393.8200
 6   Facsimile: 415.393.8306
 7   Attorneys for Defendants
     CHUNGHWA PICTURE TUBES, LTD. and
 8   CHUNGHWA PICTURE TUBES (MALAYSIA)
     SDN. BHD.
 9

10                                    UNITED STATES DISTRICT COURT

11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 SC
14   ANTITRUST LITIGATION                                    MDL No. 1917
     _______________________________________
15                                                           [PROPOSED] ORDER GRANTING
     This Document Relates To:                               DEFENDANTS CHUNGHWA PICTURE
16                                                           TUBES, LTD. AND CHUNGHWA
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   PICTURE TUBES (MALAYSIA) SDN.
17   3:11-cv-05513-SC                                        BHD.’S MOTION TO DISMISS FOR
                                                             LACK OF PERSONAL JURISDICTION
18   CompuCom Sys., Inc. v. Hitachi, Ltd. et al., No.
     3:11-cv-06396-SC                                        Date:        December 12, 2014
19                                                           Time:        10:00 A.M.
     Interbond Corp. of Am. v. Hitachi, Ltd. et al., No.     Judge:       Hon. Samuel Conti
20   3:11-cv-06275-SC
21   Office Depot, Inc. v. Hitachi, Ltd. et al., No.
     3:11-cv-06276-SC
22
     P.C. Richard & Son Long Island Corp. et al. v.
23   Hitachi, Ltd. et al., No. 3:12-cv-02648-SC
24   Schultze Agency Services, LLC v. Hitachi, Ltd. et
     al., No. 3:12-cv-02649-SC
25
     Sears, Roebuck and Co. et al. v. Chunghwa
26   Picture Tubes, Ltd. et al., No. 3:11-cv-05514-SC
27   Target Corp. v. Chunghwa Picture Tubes, Ltd. et
     al., No. 3:11-cv-05514-SC
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          [PROPOSED] ORDER GRANTING CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                         MASTER CASE NO. 07-CV-5944 SC
         Case 4:07-cv-05944-JST Document 2960-1 Filed 11/05/14 Page 2 of 3


 1          On December 12, 2014, the Court held a hearing on Defendants Chunghwa Picture Tubes,
 2   Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.’s Motion to Dismiss for Lack of Personal
 3   Jurisdiction (“Motion”) in the above-captioned actions. The Court having considered all papers filed
 4   in support of and in opposition to said Motion, and having entertained argument of counsel, and good
 5   cause appearing, IT IS HEREBY ORDERED that the Motion is GRANTED in its entirety.
 6          Judgment is entered for Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes
 7   (Malaysia) Sdn. Bhd. on the following Direct Action Plaintiffs’ claims: Best Buy Co., Inc.; Best Buy
 8   Purchasing LLC; Best Buy Enterprise Services; Best Buy Stores, L.P.; BestBuy.com, L.L.C.;
 9   Magnolia Hi-Fi, LLC; CompuCom Systems, Inc.; Interbond Corporation of America; Office Depot,
10   Inc.; P.C. Richard & Son Long Island Corp.; MARTA Cooperative of America, Inc.; ABC
11   Appliance; Sears, Roebuck and Co.; Kmart Corp.; Target Corp.; and Schultze Agency Services, LLC
12   on behalf of Tweeter Opco, LLC and Tweeter Newco, LLC.
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            IT IS SO ORDERED.
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     DATED: ____________________, 2014
16                                                               _____________________________
                                                                     Honorable Samuel Conti
17                                                                   U.S. District Judge
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          [PROPOSED] ORDER GRANTING CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                         MASTER CASE NO. 07-CV-5944 SC
          Case 4:07-cv-05944-JST Document 2960-1 Filed 11/05/14 Page 3 of 3


 1                                             DECLARATION OF SERVICE
 2            I, Joseph Hansen, declare as follows:
 3           I am employed in the County of San Francisco, State of California; I am over the age of
     eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
 4   3000, San Francisco, California, 94105, in said County and State. On the date below, I served the
     within:
 5
              [PROPOSED] ORDER GRANTING DEFENDANTS CHUNGHWA PICTURE TUBES,
 6            LTD. AND CHUNGHWA PICTURE TUBES (MALAYSIA) SDN. BHD.’S MOTION
              TO DISMISS FOR LACK OF PERSONAL JURISDICTION
 7
     to all named counsel of record as follows:
 8
                   BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents utilizing the
 9
                  United States District Court, Northern District of California’s mandated ECF (Electronic Case Filing) service
                   on November 5, 2014. Counsel of record are required by the Court to be registered e-filers, and as such are
10                 automatically e-served with a copy of the documents upon confirmation of e-filing.

11         I certify under penalty of perjury that the foregoing is true and correct, that the foregoing
     document(s) were printed on recycled paper, and that this Declaration of Service was executed by me
12   on November 5, 2014, at San Francisco, California.

13
                                                                             /s/ Joseph Hansen
14                                                                                Joseph Hansen

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           [PROPOSED] ORDER GRANTING CPT AND CPTM’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
                                          MASTER CASE NO. 07-CV-5944 SC
